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IN THE UNITED STATES DISTRICT COURT f ' '" U" '
FOR THE WESTERN DISTRICT OF TENNESSEE 35 my 25 fw H_ log
WESTERN DIVISION - ‘ ’
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tN\/ENTORY LoCAToR seR\/ICE, LLC, …”' ‘ '"' t -

Plaintiff,
VS. NO. 02-2695~Ma/P
PARTSBASE, INC.,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

Before the court is the May 24, 2005 motion for admission pro hac vice ofPeter D.
Marketos. Mr. Marketos is a member in good standing of the bar of the State of Texas and is
admitted to practice before the Suprenie Court of Texas and the United States District Court for
the Northern District of Texas. Mr. Marketos has obtained and is familiar With the local rules
and professional guidelines of this court. For good cause shown, the motion is granted and Peter
D. Marketos is admitted to participate in this action as counsel for Plaintiff.

tr ls so oRDERED this if/\jay ofMay, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

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